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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

January 2016 Grand Jury

UNITED STATES OF AMERIC.A, cR No. 1?~39]’|'@<`5{>002>(,0

Plaintiff, I'N D I C T M E N T

v. [lB U.S.C. § 371: Conspiracy}

MERRILY ANN STEFFEN,
JAMES RANDALL STEFFEN,
aka “Randy Steffen,"
MOLLY JO BLACKBURN~STEFFEN, and
LANCE ALLAN JOWERS, `

Defendants.

 

 

 

 

Tne Grand Jury chargesr
[18 U.S.C. § 3?1]

A. INTRODUCTORY ALLEGATIONS

 

At all times relevant to this Indictmentr

The Defendants y

1. Defendants MERRILY ANN STEFFEN (“MERRILY STEFFEN”) and
JAMES RANDALL-STEFFEN, also known as “Randy Steffen” (“JAMES
STEFFEN”) were husband and wife, and residents of Illinois.

Defendants MERRILY STEFFEN and JAMES STEFFEN were the mother and

 

 

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father of co-conspirator Jarrod Wade Steffen (“Wade Steffenf). Wade

l Steffen was also a resident of Illinois.

2. Defendant MOLLY JO BLACKBURN¢STEFFEN (“MOLLY STEFFEN”} was
the girlfriend, fiancée, and then wife of Wade Steffen, and a -
resident of Iowa.

3. LANCE ALLAN JOWERS (“JOWERS”) was a resident of Texas.

The Endangered Species Act

4. The Endangered $pecies Act (“ESA”) was enacted to provide a
program for the conservation of endangered species and threatened
species.

5. Under the EE‘»Af the term “endangered species” included any
species which was in danger of extinction throughout all or a
significant portion of its range. The ESA set forth a process by
which it was determined whether any species was endangered. All
species of wildlife determined to be endangered were listed at Title
50, Code of Federal Regulationsr Section 17.11.

6. The species niceros bicornis, which is commonly known as
the Black rhinoceros, was determined to be and was listed as an
endangered species.

7. The lead federal agencies responsible for the
implementation, enforcement, and administration of the ESA were the
United States Fish and Wildlife Service (“USFWS”) and the United
States National Oceanic and Atmospheric‘Administration - Fisheries
Service.

The Convention`on International Trade in Endangered Species

8. The United States was a signatory to the Convention on
International Trade in Endangered Species of Wild Fauna and Flora
("ClTES"). CITES protected certain species of fish, wildlife; and

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plants against overexploitation by regulating trade in the species.`
Protected species were listed in appendices to CITES (Appendices I,
II, and III).

9. All rhinoceros species had a minimum level of protection
under CITES under'Rppendix II, and some were listed under Appendix 1
as well. Black rhinoceros were protected as an Appendix I species,

while White rhinoceros were protected as Appendix I or II species,

_depending on the particular subspecies.

10. CITES was implemented through the ESA and regulations
promulgated thereunder.

B. OBJECTS OF THE CONSPIRACY

 

Beginning on a date unknown to the Grand Jury, and including
from at least in or about September 2010, and continuing to on or
about February 18, 2012, in Los Angeles County, San Bernardino
County, and Orange Countyr within the Central District of Californiar
and elsewhere, defendants MERRILY STEFFEN, JAMES STEFFEN, MOLLY
STEFFEN, and JOWERS, and other co-conspirators known and unknown to
the Grand Jury, knowingly conspired and agreed to commit the f
following offenses against the United States:

l. to knowingly and willfully defraud the United States by
using deceitful and dishonest means to frustrate the functions and
efforts of the United States Fish and Wildlife Service [“USFWS”) to
enforce the United States' international treaty obligations under
CITES and to protect threatened and endangered rhinoceros species
from overexploitation by regulating trade in such speciesr in
accordance with the regulations and provisions of the ESA;

2. to knowingly deliver, receive, carry, transport, and ship,
in interstate and foreign commercer by any means whatsoever and in

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the course of a commercial activity, endangered wildlife species,
namely, Black rhinoceros horns, in violation of Title 16, United
States Coder Sections l538(a)[1}(E} and l540(b);

3. to knowingly sell and offer for sale in interstate and
foreign commerce endangered wildlife species,-namely, Black
rhinoceros horns, in violation of Title 16, United States Code,
Sections 1538(a)(l)(F) and 1540(b);

4. to knowingly engage in conduct that involved the sale and
purchase of, offer for sale and purchase of, and intent to sell and
purchase endangered wildlifer namely, Black rhinoceros horns, with a
market value in excess'of $350, and to knowingly transportr sell,
receive, acquire, and purchase, and attempt to transport, sell,
receive, acquire, and purchase, such wildlife, knowing that the_
wildlife was transported and sold in violation of, and in a manner
unlawful under, the laws and regulations of the United States, in
violation of Title 16, United States Code, Sections 1538(a)(1)(E),
(F); 8372(a)(1}, (4}, and 3373(d)(1)(B);'

5. to knowingly engage in conduct that involved the sale and
purchase of, offer for sale and purchase of, and intent to sell and
purchase wildlife, namely, CITES~protected rhinoceros hornsr with a
market value in excess of $350, and to knowingly make and submit any
false record, account, and label for, and any false identification
of, such wildlife knowing that it has beenr and is intended to be,
transported in interstate and foreign commerce, in violation of Title

16, United States Code, Sections 33?2(d)(2) and 3373(d)(3)(n)(ii).

 

 

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C. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

 

ACCOMPLISHED
The objects of the conspiracy were to be accomplished in
substance as follows:

1. Co-conspirator Wade Steffen and defendants MERRILY STEFFEN,

'JAMES STEFFEN, and MOLLY STEFFEN would identify CITES~protected White

rhinoceros horns and CITES~protected and endangered Black rhinoceros
horns for sale throughout the United States with the intent to sell,
transport, ship, and deliver the rhinoceros horns to three co~
conspirators, namely, Felix Kha (“F. Kha”}, Vinh Chuong Kha (“V.
Kha”), and Nhu Mai Nguyen (“Nguyen”}, in San Bernardino County and
Orange County, California. d

2._ On occasion, co~conspirator F. fha would contact and
provide co~conspirator`Wade Steffen with information regarding_the
location of rhinoceros horns for sale throughout the United States.

3. Co~conspirator Wade Steffen would share the information
received from co-conspirator F. Kha regarding rhinoceros horns
available for purchase and sale with defendants MERRILY STEFFEN,
JAMES STEFFEN, and MOLLY STEFFEN.

4. 'Co~conspirator Wade Steffen and defendants MERRILY STEFFEN,
JAMES STEFFEN, and MOLLY STEFFEN would contact the owners of the_
rhinoceros horns in interstate commerce to arrange for the purchase
and sale of the rhinoceros horns.

5. Co~conspirator Wade Steffen and defendants MERRILY STEFFEN,
JAMES STEFFEN, and MOLLY STEFFEN would negotiate in interstate

commerce purchases and sale prices for the rhinoceros horns.

 

 

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6. Co-conspirator Wade Steffen and defendants MERRILY STEFFEN,
JAMES STEFFEN, and MOLLY STEFFEN would travel in interstate commerce
to purchase,_receive, and acquire the rhinoceros horns. n

?. Co-conspirator Wade Steffen and defendants MERRILY STEFFEN
and MOLLY STEFFEN would then ship, transportr and deliver the
rhinoceros horns to co-conspirators F. Khar V. Khar and Nguyen in San
Bernardino County and Orange County, California.

8. On occasion, co~conspirator`Wade Steffen and defendant
MERRILY STEFFEN would falsely label and identify the rhinoceros horns
shipped, transported, and delivered to co-conspirators F. Kha, V. d
Kha} and Nguyen in San Bernardino County and Orange County,
California, as “toys” or “antigues.”

9._ Co~conspirator Wade Steffen and defendants MERRILY STEFFEN
and MOLLY STEFFEN would travel to Long Beach, California to receive
money from cotconspirators F. Kha, V. Kha, and Nguyen to be used to
purchase rhinoceros horns in interstate commerce, and as compensation
for rhinoceros horns previously purchased by co-conspirator Wade

Steffen and defendants MERRILY STEFFEN, JAMES STEFFEN, and MOLLY

STEFFEN in interstate commerce.

10. Acting on behalf of co-conspirator Wade Steffen and
defendants MERRILY STEE`FEN, JAMES STEFFEN, and MOLLY STEFE`EN,
defendant JOWERS, among other individuals known and unknown to the
Grand Jury, would act as a straw buyer to purchase rhinoceros horns
for them in Texas.

11. ce~cenepirater wade steffen and defendants MEBRILY'sTEFFEN,
JAMES STEFFEN, and MOLLY STEFFEN would ship, transportr and deliver

the rhinoceros horns purchased for them by defendant JOWERS to co-

 

 

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conspirators F. Kha, V. Kha, and Nguyen in San Bernardino County and
Orange County, California.
D. OVERT ACTS

In furtherance of the conspiracy and to accomplish the objects
of the conspiracy, defendants MERRILY STEFFEN, JAMES STEFFEN, MOLLY-
STEFFEN; and JOWERS, together with co-conspirator_Wade Steffen, and
other co-conspirators known_and unknown to the Grand Jury, committed
various overt acts within the Central District of California, and
elsewhere, including, but not limited to, the following:

Overt act No. 1: 1n or about September 2010, co-conspirator
Wade Steffen arranged to purchase a pair of White rhinoceros horns
from M.B. and G;M. in Wisconsin for $60,000.

Overt Act No. 2: In or about September 2010, M.B. transported
the pair of White rhinoceros horns purchased by co-conspirator Wade
Steffen for $60,000 from Wisconsin to the residence of defendants
MERRILY STEFFEN and JAMES STEFFEN in Richmond,-lllinois. Defendant
MERRILY STEFFEN paid M.B.'$60,000 in cash for the pair of White
rhinoceros horns.

Overt Act No. 3: -ln or about September 2010, defendants
MERRILY STEFFEN and JAMES STEFFEN traveled to Wausaur Wisconsin, from
Richmond, Illinois, to purchase a pair of White rhinoceros horns for
$70,000 in cash. `

Overt Act No. 4: In or about December 2010, co~conspirator
wade Steffen and defendant MOLLY STEFFEN travelled to Three Lakes,
Wisconsin, to purchase a pair of White rhinoceros horns from M.B. and

G.M..for $60,000 in cash and checks.

 

 

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Overt not No. 5: In or about December 2010, defendant MOLLY
STEFFEN provided a personal check to M.B. and G.M. in Three Lakes,
Wisconsin, as partial payment for a pair of White rhinoceros horns.

Overt Act No; 6: In or about December 2010, co-conspirator
Wade Steffen and defendant MOLLY STEFFEN transported a pair of White
rhinoceros horns from Three Lakes, Wisconsin, to Richmond, Illinois,
with the intent to sell and ship the rhinoceros horns to co-
conspirator F. Kha in California.

Overt Act No. ?: In or about December 2010r co-conspirator
Wade Steffen sold the pair of White rhinoceros horns purchased for
$60,000 from M.B. and G.M. in Three Lakes, Wisconsin, to co-
conspirator F. Kha in California for $83,000.

l 'Overt Act do. 8: In or about nugust 2011, defendants MERRILY

STEFFEN and JAMES STEFFEN traveled from Richmond, Illinois, to

-Chicago, lllinois, to purchase a pair of Black rhinoceros horns which

they knew had recently been purchased by the seller in Nebraska.
Overt Act No. 9: In or about August 2011, co-conspirator Wade
Steffen paid defendant MERRILY STEFFEN $1,000 for the Chicago,

Illinois purchase of the Black rhinoceros horns from Nebraska.

 

Overt not No. 10: In or about August 2011, J.H. contacted co-
conspirator Wade Steffen regarding a pair of Black rhinoceros horns
available for purchase in Salem, Oregon.

Overt Act No. 11: ln or about August 2011, defendants MERRILY
STEFFEN and JAMES STEFFEN provided J.H. with $17,000 in cash in
Richmond} Illinois, to be used to purchase the Black rhinoceros horns
available for sale in Salemr Oregon. -

Overt Act No. 12: On or about August 3, 2011, co-conspirator

 

Wade Steffen and co-conspirator F. Kha exchanged text messages

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regarding a pair of Black rhinoceros horns available for purchase and
sale in Cameron, Texas.

Overt Act No. 13: In or about August 2011, co-conspirator Wade

 

Steffen asked defendant JOWERS to act as a straw buyer for the pair
of Black rhinoceros horns available for purchase and sale in Cameron,
Texas.

Overt Act No. 14: In or about hugust 2011, co-conspirator Wade

 

Steffen and defendant JOWERS purchased the pair of Black rhinoceros
horns from J.W. in Cameronr Texas, for approximately $52,500.

Overt Act No. 15: In or about August 2011, co-conspirator Wade
Steffen paid defendant JOWERS.$l,OOO for his role as a straw buyer of
the Cameron, Texas pair of Black rhinoceros horns.

Overt Act No. 16: On or about August 31, 2011, defendant

 

MERRILY STEFFEN shipped a pair of White rhinoceros horns falsely
identified in shipping records as “TOYS” from kichmond, Illinois, to
co-conspirator Nguyen in Highlandr California.

Overt Act No. 17: On or about September 1, 2011, defendant

 

MOLLY STEFFEN received a wire transfer from co-conspirator F. Kha in
the amount ef $9,000.

Overt Act No. 18: On or about October 14, 2011, co-conspirator

 

Wade Steffen asked defendant JOWERS to act as a straw buyer for the
purchase of three pairs of Black rhinoceros horns for sale at an_
auction in Fort Worth, Texas.

Overt Act No. 19: On or about 0ctober 14, 2011, co-conspirator

 

Wade Steffen provided approximately $98,000 of “buy money” to

defendant JOWERS for the straw purchase of three Black rhinoceros

 

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Worth, Texas.

 

 

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Overt Act No. 20: On or about October 15, 2011, defendant

 

JOWERS purchased the three Black rhinoceros mounts at the auction in
Fort Worth, Texasr on behalf of co-conspirator Wade Steffen for
approximately $80,000.

Overt Act No. 21: On or about October 15, 2011, co-conspirator

 

Wade Steffen and defendant JOWERS used a chain saw to remove the
horns from two of the Black rhinoceros mounts purchased by defendant
JOWERS at the auction in Fort Worth, Texas.

Overt.Act No. 22: On or about October 15, 2011, co-conspirator

 

Wade'Steffen paid defendant JOWERS approximately $10,000 for his
straw purchase of the three Black rhinoceros mounts at the auction in
Fort Worth, Texas.

Overt Act No. 23: In or about October and November 2011, co-

 

'conspirator Wade Steffen sold the horns removed from the three Black

rhinoceros mounts purchased by defendant JOWERS at the auction in
Fort Worth, Texas, to co-conspirators F. Kha, V. Kha, and Nguyen for

approximately $125,000.

 

Overt not No. 24: On or about October 20, 2011, defendant
MOLLY STEFFEN left a voice mail message for a law enforcement officer
acting in an undercover capacity (“UCO #1”) in Iowa who was offering
to sell a pair of Black rhinoceros horns. ln her voice mail message,
defendant MOLLY STEFFEN stated as follows: “Hi, this is Molly
Blackburn, and [J.L.j told me that you have a horn for sale, and l
was wondering if I could come get it from ya. `If you could, ca11 me
back at [phone number]. Thank you.”

Overt Act No. 25: On or about October 21, 2011, defendant

 

MOLLY STEFFEN called the UCO #1 in Iowa to discuss the purchase and
sale of the pair of Black rhinoceros horns. During the phone call,

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defendant MOLLY STEFFEN stated, among other things, the following:
“It's a, actually I'm.just running up and getting it for my fiance
[co-conspirator Wade Steffen]. I'll have to ask him because I’m not
sure. l don’t even know what he pays for them. SO, he is the one
that actually talked to [J.L.]; He just wanted me to call you and
wanted me to come get it because he is out of town for a few weeks.”

Overt Act No. 26: On or about October 28, 2011, during a phone

 

call with the UCO #1 in lowa that was offering to sell her a pair of`

Black rhinoceros hornsr defendant MOLLY STEFFEN stated as follows:

_“We will be coming through there next week, are you going to be

around?”

Overt Act No. 27: On or about November 2, 2011, co-conspirator

 

Wade Steffen met with the UCO #1 in Des Moines, lowa, to purchase the
pair of Black rhinoceros horns. l

Overt Act No. 28: On or about November 6, 2011, co-conspirator

 

Wade Steffen and defendant MERRILY STEFFEN purchased a pair of Black
rhinoceros horns from T.S., a resident of Minnesota, for
approximately $40,000 at defendant MERRILY STEFFEN's home in
Richmond, Illinois.

Overt Act No. 29: On or about November 28, 2011, defendant

 

JOWERS sent the following text message regarding his_efforts to
purchase a Black rhinoceros mount from a second law enforcement
officer acting in an undercover capacity in Indiana (“UCO #2”) to co-
conspirator Wade Steffen: “That guy in lndiana called me. l am gonna
try and set that deal up for the 19`th of December. ban you call you
man in Indiana to make sure he can do it.”

Overt Act No. 30: On or about November 28, 2011, defendant

 

JOWERS sent the following text message to co-conspirator Wade Steffen

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regarding his efforts to purchase the Black rhinoceros mount from UCO
#2 in Indiana: “Also once 1 get it I would like to meet your mom
[defendant MERRILY STEFFEN] and give it to her to ship. What do you
think?”

Overt Act No. 31: On or about November 28, 2011, co-

 

conspirator Wade Steffen replied to defendant JOWERS’ text messages
referenced in Overt Acts Nos. 29 and 30_above} as follows: “Yes
that's fine my mans ready whenever.”

Overt Act No. 32: On or about November 28, 2011, defendant

 

JOWERS replied to co-conspirator Wade Steffen’s text message
referenced in Overt Act No. 31 above, as follows: “Ok he said he will
take 20 [$20,000}.

Overt not No. 33: On or about December 8, 2011, co~conspirator

 

Wade`Steffen sent the following text message to defendant JOWERS

regarding JOWERS' efforts to purchase the Black rhinoceros mount from
UCO #2 in Indiana: “Are u putting half the funds up next week.” -

Overt not No. 34: On or about December 8, 2011,-co-conspirator
Wade Steffen sent the following text message to defendant JOWERS
regarding JOWERS' efforts to purchase the Black rhinoceros mount from
UCO #2 in Indiana: “We all know how greedy u get.”

Overt Act No. 35: On or about December 8, 2011, defendant-

 

JOWERS replied to co-conspirator Wade Steffen's text message
referenced in Overt not No. 33 above, as follows: “You find we split
the profit that's what I heard for the past couple of months.”

Overt hot No. 36: On or about December 8, 2011f co-conspirator

 

Wade Steffen replied to defendant JOWERS' text message referenced in

Overt Act No. 35 above, as follows: “Ya but I wont be there to make

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sure its real or if something goes wrong you need to be in all the
way partner.”

Overt Act No. 3?: On or about December 8, 2011, defendant

 

JOWERS replied to co-conspirator Wade Steffen's'text message
referenced in Overt Act No. 36 above, as followsf “Why now are you
asking me to put up half the money on the mounts. None of the other
people that have found em hasn't had to put up the money. Whats the
deal 1 guess it’s just me huh.- I’m flying up there renting the car
setting everything up and we both get paid whatfs the deal.”

dvert Act No. 38: On or about December 8, 2011, co-conspirator
Wade Steffen replied to defendant JQWERS' text message referenced in
Overt Act No. 31 above, as follows: “How do you know l though that's
what a partnered deal is im not to sure bout it anyway you have no
risk whats the problem.”

Overt Act No. 39: On or about December 8, 2011, defendant

 

JOWERS replied to co-conspirator Wade Steffen's text message
referenced in Overt Act No. 38 above, as follows: “Risk l have all
the risk. N the one setting the deal up. I know if it's real or

not. If you are scared I won't do the deal. No problem.”

 

'Overt Act No. 40: On or about December 23, 2011r defendants
MERRILY STEFFEN and JAMES STEFFEN traveled from Richmondr Illinois to
Wisconsin Dells, Wisconsin, to purchase a pair of White rhinoceros
horns from T.S., a resident of Minnesota, for $65,000 in cash. The
rhinoceros horns were then sold to coeconspirator F. Kha for $?2,000.

Overt Act No. 41: ' In or about January 2012, co-conspirator
Wade Steffen asked defendant JOWERS to act as a straw buyer for a

Black rhinoceros mount offered for sale by J.S. near Wacor Texas.

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Overt Act No. 42: ln or about January 2012, defendant JOWERS

 

agreed to act as a straw buyer on behalf of co-conspirator Wade
Steffen for the purchase of the Black rhinoceros mount for sale by
J.S. near Waco, Texas. n

Overt hot No. 43: In or about January 2012, co-conspirator

 

Wade Steffen paid defendant JOWERS approximately $1,000 for his role-
as a straw buyer of the Black rhinoceros mount for sale by J.S. near
Waco, Texas.

Overt Act No. 44:l ln or about January 2012, co-conspirator

 

Wade Steffen sold the horns removed from the Black rhinoceros mount
purchased by defendant JOWERS from J.S. to co-conspirator F, Kha for
approximately $89,000.

Overt hot No. 45: On or about January 11, 2012, defendant`

 

MERRILY STEFFEN traveled by air from Long Beach, California, to
Chicago, Illinois, with approximately'$350,000 in rhinoceros horn
purchase money and proceeds, provided to her by co-conspirators F.

Kha, V. Kha, and Nguyen, concealed on her person and in her carry-on

_luggage.

'Overt hct No. 46: On or about January 31r 2012, co-conspirator
Wade Steffen shipped a pair of rhinoceros horns falsely identified in
shipping records as “antiques” from Stephenville, Texas, to co-
conspirator Nguyen in Highland, California. y

Overt not No. 47: On or about February 8, 2012, co-conspirator

 

Wade Steffen and defendants MERRILY STEFFEN and MOLLY STEFFEN
attempted to travel from Long Beach, California, to Chicago,
Illinois, with approximately $33?,000 in CITES-protected rhinoceros

horn purchase money and proceeds, provided to them by co-conspirators

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F. Kha, V. Kha, and Nguyen, concealed on their persons and in their
carry-on luggage.

Overt Act No. 48: Following his arrest on February 18, 2012,

 

co-conspirator Wade Steffen told defendant MERRILY STEFFEN the
following during_a telephone call from jail: “Listen,'don*t, don’t
say nothing. l’m just going to get a lawyer and let him do the

talkingr alright?”

 

Overt Act N04 49: On February'19, 2012, defendant JAMES
STEFFEN told co-conspirator Wade Steffen the following during a
jailhouse telephone call: “They are going to ask you, did you know it
was illegal and did you know it was illegal m you told me them whites

was legal m.

Overt not Nos. 50-56: On or about the following dates,

 

defendant MERRILY STEFFEN transferred proceeds, derived from the
sales of rhinoceros horns to coeconspirators F. Kha, V. Kha, and

Nguyen, to defendant MOLLY STEFFEN, in the amounts listed below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Overt Act No. Date of Wire Transfer Wire Transfer Amount
50 02/18/2011 $3,000A '
51 03/02/2011 $8,200
52 03/11/2011 $9,100
53 03/21/2011 $3,000
54 06/10/2011 $22,000
55 06/13/2011 $4,000
56 09/06/2011 $3,000
Overt Act Nos. 57-69: On or about the following dates, the

 

below-named defendants and co-conspirator Wade Steffen traveled to
Long Beachr California, from.the location listed, to receive money
from co-conspirators F. Kha, V. Kha, and Nguyen as compensation for
purchases and shipments.of CITES-protected rhinoceros horns and to

fund purchases of ClTES-protected rhinoceros horns:
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FBvert Act Travel-Date Defendant(s) or Co- Traveled Frmn

No. l conspirators l

57 08/08/09 Co-conspirator Wade Omahar NE
Steffen

58 05/11/10 Co-conspirator'Wade Chicago, IL

` Steffen
59 11/03/10 MOLLY STEFFEN and co- Milwaukee, WI
. _ conspirator Wade Steffen _

60 12/03/10 MOLLY STEFFEN and co- Chicago, IL
conspirator Wade Steffen,

61 03/28/11 MOLLY STEFFEN and Co- Dallas, TX
conspirator Wade Steffen

62 06/04/11 Co-conspirator Wade- hustin, TX
Steffen

63 01/19/11 MERRILY sTEfFEN and ee~ Chicage, IL
conspirator Wade Steffen

64 - 08/09/11 Co~conspirator Wade Omaha, NE
Steffen l

65 08/09/11 MERRILY STEFFEN Chicago, IL

66 09/01/11 _MERRILY sTEFFEN chieage, IL

67 10/05/11 Co-conspirator Wade Chicago, lL

_ Steffen .

68 01/11/12 MERRILY STEFFEN Chicago, IL
69 02/08/12 MERRILY sTEFFEN, MoLLY chieaqe, IL
STEFFEN, and co-

conspirator Wade Steffen

 

 

Overt Act Nos.

70-96:

On or about the following dates, the

below-named defendants and co-conspirator Wade Steffen shipped CITES-

protected rhinoceros horns to co-conspirators F._Kha, V. Kha, and

Nguyen at the below-listed addresses within the Central District of

California:

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`Overt Act Date Shipper Receiving Address
No.
70 10/08/10 Co-conspirator. 9641 Bolsa Avenue,
Wade Steffen Westminsterr Ch
71 11/09/10 Co-conspirator 9641 Bolsa Avenue,
Wade Steffen Westm_inster,r CA
72 11/17/10 Co-conspirator 9641 Bolsa Avenue,
Wade Steffen Westminster, CA
73 12/30/10 Co-oonspirator 9641 Bolsa Avenue,
Wade Steffen Westminster, CA
14 01/01/11 'MERRILY stresst 9641 selaa huenua,
Westminster, CA
75 03/04/11 MERRILY STEFFEN 9641 Bolsa Avenue,
Westminsterr CA
76 03/23/11 Co-conspirator 9641 Bolsa Avenue,
Wade Steffen Westminster, CA
77 04/01/11 Co-conspirator 9641 Bolsa Avenue,
Wade Steffen _Westminsterr CA
` 78 04/11/11 Co-conspirator 9641 Bolsa Avenue,
Wade Steffen Westminster, CA
19 05/10/11 ce-eenepirater 1223 church street,
Wade Steffen Unit A-Z, Highland, CA
80 05/20/11 Co-conspirator 7223 Church Street,
Wade Steffen Unit A-2, Highland, CA
81 06/07/11 MERRILY STEFFEN 7223 Church Street,
Unit A-Z, Highland, CA
82 06/14/11 Co-conspirator 7223 Church Street,
Wade Steffen Unit_A-Z, Highland, CA
63 07/27/11 Co-conspirator 7223 Church Street,
Wade Steffen Unit A-Z, Highland, CA
84 08/30/11 MERRILY sTEFFf:N 1223 church street,
Unit A-Z, Highland, CA
85 09/02/11 MERRILY STEFFEN 7223 Church Street,
Unit A-2, Highland, CA
86 09/13/11 Co-conspirator 7223 Church Street,
Wade Steffen Unit A-2, Highland, CA
87 09/22/11 MOLLY STEFFEN 7223 Church Stréet,
- Unit A-Z, Highland, CA
88 10/03/11 MOLLY STEFFEN 7223 Church Streetr
Unit A-Z, Highland, CA
89 10/13/11 140er stafst 1223 church street,
Unit A-2, Highland, CA

 

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Overt Act Date Shipper Receiving Address
No. . . -
90 10/21/11 MoLLY sTEFFEN 1223 church street,
' Unit A-Z, Highland, CA
91 10/31/11 MOLLY STEFFEN 7223 Church Street,
Unit A-Z, Highland, CA
92 11/08/11 MERRILY sTEFFEN 1223 church street,
Unit A-Z, Highland, CA
93 01/23/12 Co-conspirator 7223 Church Street,
Wade Steffen Unit A-Z, Highland, CA
94 01/25/12 Co-conspirator 7223 Church Street,
' Wade Steffen Unit A-Z, Highland, CA
95 01/31/12 Co-conspirator 7223 Church Street,
. Wade Steffen Unit'A-Q, Highland, CA
96 01/31/12 MERRILY sTEFFEN 1223 church street,
' Unit A-Z, Highland, CA

 

EILEEN M. DECKER
United States Attorney

2241

LAWRENCE S. MIDDLETON

` n TRUE BILL

/6/

Foreperson

Assistant United States httorney
Chief, Criminal Division

JosEPh o. JoHNs

Assistant United States Attorney
Chief, Environmental and
Community Safety Crimes Section

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